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                     IN THE UNITED STATES DISCTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA

DARLENE MARSHALL,                           )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )         Case No. CIV-14-571-D
                                            )
EISAI INC.,                                 )
                                            )
                      Defendant.            )

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW both parties in the above-styled action and pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii), stipulate to the dismissal of this action, with all parties to bear their own

costs, with prejudice to the further filing thereof.

                                     Respectfully submitted,

 /s/ Scott Brockman, OBA #19416                     /s/Jo Anne Deaton, OBA #5938
 Scott Brockman, OBA #19416                         Jo Anne Deaton, OBA #5938
 Ward & Glass                                       (signed by filing attorney with permission
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                                                    Eisai Inc.




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                             CERTIFICATE OF SERVICE

       I certify that on June 19, 2015, I electronically transmitted the attached document to
the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

Jo Anne Deaton
Denelda Richardson
Attorneys for Defendant

                                          /s/Scott Brockman
                                          Scott Brockman




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